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 1   WINSTON & STRAWN LLP
     Rolf S. Woolner (SBN: 143127)
 2   rwoolner@winston.com
     Justin E. Rawlins (SBN: 209915)
 3   jrawlins@winston.com
     Scott J. Fishwick (SBN: 308661)
 4   sfishwick@winston.com
     Aaron M. Gober-Sims (SBN: 325544)
 5   agobersims@winston.com
     333 S. Grand Avenue, 38th Floor
 6   Los Angeles, CA 90071-1543
     Telephone:     (213) 615-1700
 7   Facsimile:     (213) 615-1750

 8   Counsel for Hughes Investment Partnership, LLC
     and MH Holdings II H, LLC
 9
                              UNITED STATES BANKRUPTCY COURT
10

11                             CENTRAL DISTRICT OF CALIFORNIA

12                                     LOS ANGELES DIVISION

13    In re:                                     Case No. 2:19-bk-16243-BR

14    Secured Capital Partners, LLC,             Chapter 11

15                  Debtor.                      OPPOSITION OF HUGHES INVESTMENT
                                                 PARTNERSHIP, LLC AND MH HOLDINGS II
16                                               H, LLC TO MOTION FOR ENTRY OF AN
                                                 ORDER RECONSIDERING AND VACATING
17                                               THE ORDER DISMISSING DEBTOR’S
                                                 BANKRUPTCY CASE
18
                                                 Date:        TBD
19                                               Time:        TBD
                                                 Place:       Courtroom 1668; Judge Russell
20                                                            U.S. Bankruptcy Court
                                                              255 E. Temple Street, 16th Floor
21                                                            Los Angeles, CA 90012

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 1          Hughes Investment Partnership, LLC (“HIP”) and MH Holdings II H, LLC (“MH II” and,

 2   together with HIP, the “Lenders”) file this opposition to the Motion for Entry of an Order

 3   Reconsidering and Vacating the Order Dismissing Debtor’s Bankruptcy Case [Docket No. 168] (the

 4   “Reconsideration Motion”) filed by (i) the Official Committee of Unsecured Creditors (the

 5   “Committee”) appointed in the above-captioned chapter 11 case of Secured Capital Partners, LLC

 6   (“SCP” or the “Debtor”) and (ii) the Committee’s proposed counsel, Raines Feldman LLP (“Raines

 7   Feldman” and, together with the Committee, the “Movants”). In support of this Opposition, the

 8   Lenders respectfully state as follows:

 9   I.     THE MOVANTS HAVE NOT MET THE STANDARDS FOR RECONSIDERATION

10          Rule 9023 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) makes

11   Federal Rule of Civil Procedure 59 (the “Federal Rules”) applicable to bankruptcy cases. In this

12   Circuit, “there are four basic grounds upon which a Rule 59(e) motion may be granted: (1) if such

13   motion is necessary to correct manifest errors of law or fact upon which the judgment rests; (2) if such

14   motion is necessary to present newly discovered or previously unavailable evidence; (3) if such motion

15   is necessary to prevent manifest injustice; or (4) if the amendment is justified by an intervening change

16   in controlling law.” Allstate Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011). Rule 9013-4(a)

17   of the Local Rules for the Bankruptcy Court of the Central District of California provides additional

18   items that Courts may consider in the context of considering a motion for reconsideration, but none of

19   those factors are relevant here.

20          Similarly, Bankruptcy Rule 9024 makes Federal Rule 60 applicable to bankruptcy cases. In

21   this Circuit, “[a] motion … [for] reconsideration … should not be granted unless it is based on one or

22   all of the following grounds: (1) to correct manifest errors of law or fact upon which the judgment is

23   based; (2) to allow the moving party the opportunity to present newly discovered or previously

24   unavailable evidence; (3) to prevent manifest injustice; or (4) to reflect an intervening change in

25   controlling law.” In re Oak Park Calabasas Condominium Ass’n, 302 B.R. 682, 683 (Bankr. C.D.

26   Cal. 2003).

27          Motions for reconsideration under Federal Rules 59 and 60 are extreme remedies. See Herron,

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 1   634 F.3d at 1111 (“amending a judgment after its entry [is] an extraordinary remedy which should be

 2   used sparingly.”) (quotations omitted); In re Gonzalez, No. 15-25283, 2019 WL 1495729, at *2

 3   (Bankr. C.D. Cal. March 29, 2019) (“[i]t has generally been held that a Rule 60(b) motion, at least in

 4   the context of bankruptcy cases, is an extraordinary remedy and that the grant or denial of such motion

 5   may be reviewed only for an abuse of discretion.”). With respect to reconsideration to avoid manifest

 6   injustice, this Court has held that Federal Rule 60(b)(6) “is used sparingly as an equitable remedy to

 7   prevent manifest injustice and is to be used only where extraordinary circumstances prevent a

 8   party from taking timely action to prevent or correct an erroneous judgment.” In re Sarkis

 9   Investments Company, LLC, No. 13-29180, 2019 WL 2896138, at *18 (Bankr. C.D. Cal. May 14,

10   2019) (emphasis added).

11          The Movants argue that the Court should grant the Reconsideration Motion because (i) “Raines

12   Feldman does not have an engagement agreement with the Debtor and its only means of getting paid

13   is through the fee application process after its employment has been approved by the Court”, (ii) the

14   Court was unwilling to hear oral arguments on the Committee’s application to retain Raines Feldman

15   and (iii) “[i]f the Court does not grant the [Reconsideration Motion], the Debtor will receive a

16   tremendous windfall at the expense of its general unsecured trade creditors, the various professionals

17   that provided services to the Debtor and TPP over the last few years, and the professionals that sought

18   employment in the Debtor’s case.” See Reconsideration Motion at 6:14-16; 7:1-3; 10:3-8.

19          None of these reasons establish manifest error or manifest injustice. No new law or new facts

20   have been introduced, and this Court considered the Debtor’s ability to satisfy creditor claims,

21   including those that the Debtor assumed, regardless of the dismissal of the bankruptcy case. With

22   respect to authorizing the Committee’s employment of Raines Feldman or paying of Raines Feldman’s

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 1   fees, neither reason establishes a basis for reconsidering dismissal of the bankruptcy case. This Court

 2   correctly ruled on dismissal and nothing has been presented that warrants reconsideration.

 3   Dated: August 29, 2019
 4                                                WINSTON & STRAWN LLP
 5
                                                  By: /s/ Justin E. Rawlins
 6                                                    Rolf S. Woolner
                                                      Justin E. Rawlins
 7                                                    Scott J. Fishwick
                                                      Aaron M. Gober-Sims
 8
                                                        Counsel for Hughes Investment Partnership, LLC
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                                                        and MH Holdings II H, LLC
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